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                           9                      UNITED STATES DISTRICT COURT
                          10                     EASTERN DISTRICT OF CALIFORNIA

                          11   MICHAEL HEINDL,                       Case No.:
                          12                                         COMPLAINT FOR DAMAGES
ARROYO GRANDE, CA 93420




                                            Plaintiff,
                          13                                         FOR VIOLATIONS OF:
   132 BRIDGE STREET
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                          14                         v.
                                                                      I.      FAIR CREDIT REPORTING
                          15                                                  ACT;
                          16   AFFIRM LOAN SERVICES,
                                                                      II.     CALIFORNIA CONSUMER
                               LLC; SEZZLE INC.; MRS
                          17                                                  CREDIT REPORTING
                               BPO, L.L.C.; TRUEACCORD
                                                                              AGENCIES ACT;
                          18   CORP; JANUARY
                               TECHNOLOGIES, INC.;
                          19                                          III.    CALIFORNIA IDENTITY
                               EQUIFAX INFORMATION
                                                                              THEFT ACT;
                          20   SERVICES LLC; EXPERIAN
                               INFORMATION SOLUTIONS,
                          21                                          IV.     FAIR DEBT COLLECTION
                               INC.; AND, TRANS UNION
                                                                              PRACTICES ACT; AND,
                          22   LLC,
                          23                                          V.      ROSENTHAL FAIR DEBT
                                                                              COLLECTION PRACTICES
                          24               Defendants.
                                                                              ACT;
                          25
                                                                     JURY TRIAL DEMANDED
                          26

                          27
                          28
                               CASE NO.:                                       Heindl v. Affirm Loan Services, LLC, et al.
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                           1                                          INTRODUCTION
                           2   1.      The United States Congress has also found that the banking system is dependent
                           3           upon fair and accurate credit reporting. Inaccurate credit reports directly impair
                           4           the efficiency of the banking system, and unfair credit reporting methods
                           5           undermine the public confidence, which is essential to the continued
                           6           functioning of the banking system. As such, Congress enacted the Fair Credit
                           7           Reporting Act, 15 U.S.C. § 1681 et seq. (“FCRA”) to insure fair and accurate
                           8           reporting, promote efficiency in the banking system and protect consumer
                           9           privacy. The FCRA seeks to ensure consumer reporting agencies exercise their
                          10           grave responsibilities with fairness, impartiality, and a respect for the
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                          11           consumer’s right to privacy because consumer reporting agencies have assumed
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                          12           such a vital role in assembling and evaluating consumer credit and other
                          13           information on consumers. The FCRA also imposes duties on the sources that
                          14           provide credit information to credit reporting agencies, called “furnishers.”
                          15   2.      The California legislature has determined that the banking and credit system
                          16           and grantors of credit to consumers are dependent upon the collection of just
                          17           and owing debts and that unfair or deceptive collection practices undermine the
                          18           public confidence that is essential to the continued functioning of the banking
                          19           and credit system and sound extensions of credit to consumers. The Legislature
                          20           has further determined that there is a need to ensure that debt collectors exercise
                          21           this responsibility with fairness, honesty, and due regard for the debtor’s rights
                          22           and that debt collectors must be prohibited from engaging in unfair or deceptive
                          23
                                       acts or practices.1
                          24

                          25

                          26

                          27
                               1
                                   Cal. Civ. Code §§ 1788.1 (a)-(b)
                          28
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                           1   3.     In enacting California’s Identity Theft Act, Cal. Civ. Code §§1798.92 et
                           2          seq.(“CITA”), the California Legislature found that the right to privacy was
                           3          being threatened by the indiscriminate collection, maintenance, and
                           4          dissemination of personal information. Accordingly, CITA was enacted to
                           5          combat the lack of effective laws and legal remedies in place. To protect the
                           6          privacy of individuals, it is necessary that the maintenance and dissemination
                           7          of personal information be subject to strict limits. Cal. Civ. Code §1798.1(a),
                           8          (c).
                           9   4.     MICHAEL HEINDL (“Plaintiff”), by Plaintiff’s attorneys, brings this action to
                          10          challenge the actions of AFFIRM LOAN SERVICES, LLC
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                          11          (“Affirm”); SEZZLE INC. (“Sezzle”); MRS BPO, L.L.C. (“MRS BPO”);
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                          12          TRUEACCORD CORP             (“TrueAccord”);      JANUARY
                          13          TECHNOLOGIES,          INC. (“January”) ; EXPERIAN INFORMATION
                          14          SOLUTIONS, INC. (“Experian”); EQUIFAX INFORMATION SERVICES
                          15          LLC (“Equifax”); and, TRANS UNION LLC (“Trans Union”), with regard
                          16          to attempts to unlawfully and abusively collect an invalid debt from Plaintiff,
                          17          inclusive of inaccurate credit reporting to, and by, the Credit Bureaus and this
                          18          conduct caused Plaintiff damages.
                          19   5.     Plaintiff makes these allegations on information and belief, with the exception
                          20          of those allegations that pertain to a plaintiff, or to a plaintiff’s counsel,
                          21          which Plaintiff alleges on personal knowledge.
                          22   6.     While many violations are described below with specificity, this
                          23          Complaint alleges violations of the statute cited in its entirety.
                          24   7.     Unless otherwise stated, all the conduct engaged in by Defendants took
                          25          place in California.
                          26   8.     Any violations by each Defendant were knowing, willful, and intentional,
                          27          and Defendants did not maintain procedures reasonably adapted to avoid any
                          28          such violation.
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                           1   9.     Unless otherwise indicated, the use of a Defendants’ name in this Complaint
                           2          includes all agents, employees, officers, members, directors, heirs, successors,
                           3          assigns, principals, trustees, sureties, subrogees, representatives, and insurers of
                           4          Defendants named.
                           5                                   JURISDICTION AND VENUE
                           6   10. Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331; 15 U.S.C. §
                           7          1681p; and, 28 U.S.C. § 1367 for supplemental state claims.
                           8   11. This action arises out of Defendants’ violations of (i) Fair Credit Reporting Act,
                           9          15 U.S.C. §§ 1681 et seq. (“FCRA”); (ii) the California Consumer Credit
                          10          Reporting Agencies Act, Cal. Civ. Code § 1785.1, et seq. (“CCCRAA”); (iii)
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                          11          the California Identity Theft Act, Cal. Civ. Code § 1798.92, et seq. (“CITA”);
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                          12          (iv) the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq.
                          13          (“FDCPA”); and, (v) the Rosenthal Fair Debt Collection Practices Act, Cal.
                          14          Civ. Code § 1788, et seq. (“RFDCPA”).
                          15   12. Because Defendants conduct business within the State of California, personal
                          16          jurisdiction is established.
                          17   13. Venue is proper pursuant to 28 U.S.C. § 1391 for the following reasons: (i)
                          18          Plaintiff resides in Sacramento County; (ii) the conduct complained of herein
                          19          occurred within this judicial district; and, (iii) Defendants conducted business
                          20          within this judicial district at all times relevant.
                          21                                            PARTIES
                          22   14. Plaintiff is a natural person who resides in Carmichael, California, from whom
                          23          Defendants sought to collect a debt which was alleged to be due and owing
                          24          from Plaintiff.
                          25
                               15. Plaintiff is a “Victim of Identity Theft” as that term is defined by Cal. Civ. Code
                          26
                                      § 1798.82(d).
                          27
                               16. Plaintiff is a senior citizen.
                          28
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                           1
                           2   17. In addition, Plaintiff is a “consumer” as that term is defined by 15 U.S.C. §
                           3       1681a(c); Cal. Civ. Code § 1785.3(c).
                           4   18. Affirm is a finance company operating from the State of California.
                           5   19. Sezzle is a financing company operating from the State of Minnesota.
                           6   20. Affirm and Sezzle are each furnishers of information as contemplated by FCRA
                           7       sections 1681s-2(b), that each regularly and in the ordinary course of business
                           8       furnish information to one or more consumer reporting agencies about
                           9       consumer transactions or experiences with any consumer.
                          10   21. TrueAccord is a debt collector headquartered in the State of Kansas.
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                          11   22. January is a debt collector headquartered in the State of New York.
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                          12   23. MRS BPO is a debt collector headquartered in the State of New Jersey.
                          13   24. Plaintiff is informed and believes, and thereon alleges, that January,
                          14       TrueAccord, and MRS BPO, in the ordinary course of business, regularly, on
                          15       behalf of themselves or others, engage in “debt collection” and are therefore a
                          16       “debt collector” as that term is defined by 15 U.S.C. § 1692a(6).
                          17   25. Equifax is a corporation located in the State of Georgia.
                          18   26. Experian is a corporation located in the State of California.
                          19   27. Trans Union is a corporation located in the State of Pennsylvania.
                          20   28. Equifax; Experian; and, Trans Union are each a “consumer reporting agency”
                          21       as that term is defined by 15 U.S.C. § 1681a(f); and, a “consumer credit
                          22       reporting agency” as defined by Cal. Civ. Code § 1785.3(d).
                          23
                               29. Defendants are also each a “person” as that term is defined by Cal. Civ. Code §
                          24
                                   1785.3(j).
                          25
                               30. Affirm, Sezzle, January, TrueAccord, and MRS BPO each are also “claimants”
                          26
                                   as that term is defined by California Civil Code § 1798.92(a).
                          27
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                           1
                           2   31. The causes of action herein also pertain to Plaintiff’s “consumer credit report”
                           3        as that term is defined by Cal. Civ. Code § 1785.3(d), in that inaccurate
                           4        representations of Plaintiff’s credit worthiness, credit standing, and credit
                           5        capacity were made via written, oral, or other communication of information
                           6        by a consumer credit reporting agency, which is used or is expected to be used,
                           7        or collected in whole or in part, for the purposes of serving as a factor in
                           8        establishing Plaintiff’s eligibility for, among other things, credit to be used
                           9        primarily for personal, family, household and employment purposes.
                          10                               FACTUAL ALLEGATIONS
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                          11   32. At all times relevant, Plaintiff is an individual residing within the State of
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                          12        California.
                          13   33. Plaintiff is the victim of identity theft.
                          14   34. On or around September 2024, Plaintiff began to notice several fraudulent
                          15        accounts appear on his credit report.
                          16   35. Plaintiff noticed 14 accounts with Affirm had been opened in his name (“the
                          17        Affirm Accounts”).
                          18   36. All the Affirm Accounts were derogatory or in collections.
                          19   37. Plaintiff had never opened the Affirm Accounts or had a relationship with
                          20        Affirm.
                          21   38. Plaintiff also noticed a fraudulent account had been opened with Sezzle (“the
                          22        Sezzle Account”).
                          23
                               39. Plaintiff had never communicated with or had a relationship with Sezzle.
                          24
                               40. Plaintiff also began to receive debt collections notices from January regarding
                          25
                                    a Dick’s Sporting Good’s debt, which did not belong to Plaintiff.
                          26
                               41. Plaintiff soon realized he was the victim of identity theft.
                          27
                               42. Plaintiff reached out and disputed the Sezzle Account directly with Sezzle.
                          28
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                           1
                           2   43. Despite this dispute, Sezzle continued to hold Plaintiff liable for the fraudulent
                           3       debt.
                           4   44. Plaintiff also reached out and disputed the Affirm Accounts directly with
                           5       Affirm.
                           6   45. Despite this dispute, Affirm has continued to hold Plaintiff liable for the Affirm
                           7       Accounts.
                           8   46. Plaintiff began to panic when he received debt collection notices from
                           9       TrueAccord, MRS BPO and January regarding the fraudulent accounts.
                          10   47. Thereafter, on October 03, 2024, Plaintiff submitted a written dispute to
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                          11       Equifax, Experian, and Trans Union each, wherein Plaintiff provided a
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                          12       narrative summary describing his being a victim of identity theft. Plaintiff
                          13       included an FTC fraud affidavit, proof of address, and other information
                          14       sufficient to personally identify Plaintiff. Within the dispute, Plaintiff identified
                          15       several accounts which were opened by the Fraudster and should be deleted
                          16       from Plaintiff’s credit report.
                          17   48. Affirm and Sezzle were each then required to conduct a reasonable
                          18       reinvestigation into this specific account on Plaintiff’s consumer report
                          19       pursuant to 15 U.S.C. § 1681s-2(b)(1)(A).
                          20   49. Equifax, Experian, and Trans Union were also required to conduct their own
                          21       reasonable reinvestigation into this specific account on Plaintiff’s consumer
                          22       report pursuant to 15 U.S.C. §1681i.
                          23
                               50. On October 30, 2024, Plaintiff received correspondence from Equifax which
                          24
                                   stated they were reinserting the Sezzle Account onto Plaintiff’s credit report.
                          25
                               51. On November 18, 2024, Plaintiff was shocked to see the Affirm accounts still
                          26
                                   reporting on his Experian Credit Report.
                          27
                               52. Plaintiff’s Experian credit score had plummeted to 562.
                          28
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                           1
                           2   53. Trans Union also reinserted the Sezzle Account back onto Plaintiff’s credit
                           3       report.
                           4   54. Plaintiff was shocked by this, as he has no association with Affirm or Sezzle.
                           5   55. Affirm and Sezzle submit inaccurate credit information regarding Plaintiff to
                           6       the Credit Bureaus every thirty days.
                           7   56. The Credit Bureaus did not provide notice to Plaintiff that Plaintiff’s dispute
                           8       was “frivolous or irrelevant,” pursuant to 15 U.S.C. § 1681i(a)(3).
                           9   57. Defendants’ investigations were unreasonable.
                          10   58. More specifically, Affirm and Sezzle should have discovered from their own
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                          11       records, including Plaintiff’s formal dispute, that the information being reported
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                          12       was inaccurate and materially misleading since Plaintiff provided information
                          13       showing that Plaintiff’s respective Affirm and Sezzle debt were not owed.
                          14   59. Plaintiff contends that it was unreasonable for Defendants to not contact
                          15       Plaintiff for further information if needed; and to not contact third parties which
                          16       could have substantiated Plaintiff’s disputes.
                          17   60. Accordingly, Affirm and Sezzle each failed to conduct a reasonable
                          18       investigation with respect to the disputed information as required by 15 U.SC.
                          19       § 1681s-2(b)(1)(A) by failing to remove all of the disputed and incorrect
                          20       information.
                          21   61. Affirm and Sezzle each failed to review all relevant information provided by
                          22       Plaintiff in the dispute to the Credit Bureaus, as required by and in violation of
                          23
                                   15 U.SC. § 1681s-2(b)(1)(B).
                          24
                          25
                          26

                          27
                          28
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                           1   62. Due to Affirm and Sezzle’s each respective failure to reasonably investigate,
                           2       Affirm and Sezzle each further failed to correct and update Plaintiff’s
                           3       information as required by 15 U.S.C. § 1681s-2(b)(1)(E), thereby causing
                           4       continued reporting of inaccurate information in violation of 15 U.S.C. § 1681-
                           5       s(2)(b)(1)(C).
                           6   63. By inaccurately reporting account information after notice and confirmation of
                           7       its errors, Affirm and Sezzle each failed to take appropriate measures as
                           8       required by 15 U.S.C. § 1681s-2(b)(1)(D); and, (E).
                           9   64. Through this conduct, Affirm and Sezzle each violated Cal. Civ. Code §
                          10       1785.25(a) by furnishing information to consumer reporting agencies that
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                          11       Affirm, Citibank, Discover, RC Willey, TD Bank, and X1each knew or should
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                          12       know was inaccurate.
                          13   65. Equifax, Experian, and Trans Union also failed to conduct reasonable
                          14       investigations with respect to the disputed information as required by 15 U.S.C.
                          15       §1681i.
                          16   66. Plaintiff’s continued efforts to correct Defendants’ erroneous and negative
                          17       reporting by communicating Plaintiff’s dispute with the Credit Bureaus were
                          18       fruitless.
                          19   67. Defendants’ continued inaccurate and negative reporting of the inaccurate
                          20       information to Plaintiff’s credit report in light of Defendants’ knowledge of the
                          21       actual error was willful.
                          22   68. Defendants’ continued inaccurate and negative reporting of the inaccurate
                          23
                                   information to Plaintiff’s credit report in light of Defendants’ knowledge of the
                          24
                                   actual error was reckless.
                          25
                               69. Defendants’ failure to correct the previously admitted inaccuracies on
                          26
                                   Plaintiff’s credit reports was intentional and in reckless disregard of
                          27
                                   Defendants’ duty to refrain from reporting inaccurate information.
                          28
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                           1   70. Accordingly, Defendants willfully and negligently failed to comply with
                           2       Defendants’ respective duties to reasonably investigate Plaintiff’s dispute.
                           3   71. Defendants’       inaccurate   and   negative     reporting       damaged         Plaintiff’s
                           4       creditworthiness.
                           5   72. Defendants’ conduct has caused Plaintiff emotional distress.
                           6   73. Plaintiff has spent countless hours disputing this inaccurate information with
                           7       Defendants in an attempt to provide any and all information needed for the
                           8       investigations.
                           9   74. January, TrueAccord and MRS BPO continued to contact Plaintiff regarding
                          10       the fraudulent debts, despite Plaintiff’s correspondence stating the debt was the
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                          11       product of identity theft.
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                          12   75. Throughout this conduct, January, TrueAccord, and MRS BPO violated 15
                          13       U.S.C. § 1692e by using false, deceptive, and misleading representations in
                          14       connection with the collection of Plaintiff’s alleged debt. This section is
                          15       incorporated into the RFDCPA through Cal. Civ. Code § 1788.17; thus,
                          16       January, TrueAccord, and MRS BPO violated Cal. Civ. Code § 1788.17.
                          17   76. Through this conduct, January, TrueAccord, and MRS BPO violated 15 U.S.C.
                          18       § 1692e(2)(A) by falsely representing the character, amount, and legal status of
                          19       the fraudulent debt in connection with the collection of the fraudulent debt from
                          20       Plaintiff. This section is incorporated into the RFDCPA through Cal. Civ. Code
                          21       § 1788.17; thus, January, TrueAccord, and MRS BPO violated Cal. Civ. Code
                          22       § 1788.17.
                          23
                               77. Through this conduct, January, TrueAccord, and MRS BPO violated 15 U.S.C.
                          24
                                   § 1692e(10) by using false representations and deceptive means to collect the
                          25
                                   fraudulent debt from Plaintiff. This section is incorporated into the RFDCPA
                          26
                                   through Cal. Civ. Code § 1788.17; thus, January, TrueAccord, and MRS BPO
                          27
                                   violated Cal. Civ. Code § 1788.17.
                          28
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                           1   78. Through this conduct, January, TrueAccord, and MRS BPO violated 15 U.S.C.
                           2       § 1692f by using unfair and unconscionable means to collect the fraudulent debt
                           3       from Plaintiff. This section is incorporated into the RFDCPA through Cal. Civ.
                           4       Code § 1788.17; thus, January, TrueAccord, and MRS BPO violated Cal. Civ.
                           5       Code § 1788.17.
                           6   79. While Plaintiff was thorough in Plaintiff’s disputes at all times, each Defendant
                           7       merely responded with form letters that failed to take into account any of the
                           8       specifics identified in Plaintiff’s disputes.
                           9   80. Throughout this ordeal, Plaintiff’s anxiety; frustration; stress; lack of sleep;
                          10       nervousness; anger; and, embarrassment continues to this day because these
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                          11       large debts mischaracterize Plaintiff as someone that financially overextends
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                          12       himself and harms Plaintiff’s credit score.
                          13   81. Despite Plaintiff’s repeated attempts, Defendants continue to report an invalid
                          14       debt to Plaintiff’s credit report.
                          15   82. As a direct and proximate result of Defendants’ willful action and inaction,
                          16       Plaintiff has suffered actual damages, including, but not limited to, reviewing
                          17       credit reports, preparing and mailing dispute letters, attorneys’ fees, loss of
                          18       credit, loss of ability to purchase and benefit from credit, increased costs for
                          19       credit, mental and emotional pain and anguish, and humiliation and
                          20       embarrassment of credit denials. Plaintiff has further spent countless hours and
                          21       suffered pecuniary loss in attempting to correct Defendants’ inaccurate and
                          22       derogatory information, without success.
                          23
                               83. As such, Plaintiff has been unable to obtain the credit benefits he should have
                          24
                                   earned by his stellar payment history.
                          25
                               84. Plaintiff has suffered credit denials and not been able to obtain his desired
                          26
                                   housing because of the Identity Theft and inaccurate reporting.
                          27
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                           1   85. Plaintiff is not able to calculate the total pecuniary loss at this time but will
                           2       utilize the services of an economist.
                           3   86. Based upon the discussion above, Plaintiff contends that punitive damages are
                           4       available to Plaintiff.
                           5   87. Similarly, Equifax, Experian, and Trans Union also received documents in
                           6       connection with Plaintiff’s dispute that directly contradicted the inaccurate
                           7       credit reporting.
                           8   88. These documents should have caused Equifax, Experian, and Trans Union to
                           9       remove the inaccurate information from Plaintiff’s credit report.
                          10   89. By intentionally reporting continuing obligations, Equifax, Experian, and Trans
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                          11       Union acted in conscious disregard for Plaintiff’s rights.
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                          12   90. To report an ongoing obligation despite the invalid nature of this account shows
                          13       that Defendants took action involving an unjustifiably high risk of harm that
                          14       was either known or so obvious that it should be known.
                          15   91. Since Plaintiff’s efforts to be absolved of the invalid debt were unsuccessful,
                          16       Plaintiff was required to bring this action to finally resolve Plaintiff’s remaining
                          17       disputes.
                          18                   CAUSES OF ACTION CLAIMED BY PLAINTIFF
                          19                                        COUNT I
                          20             VIOLATION OF THE FAIR CREDIT REPORTING ACT
                          21                           15 U.S.C. §§ 1681-1681X (FCRA)
                          22    [AGAINST AFFIRM, SEZZLE, EXPERIAN, EQUIFAX, TRANSUNION]
                          23
                               92. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                          24
                                   as though fully stated herein.
                          25
                               93. The foregoing acts and omissions constitute numerous and multiple violations
                          26
                                   of the FCRA.
                          27
                          28
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                           1   94. As a result of each and every negligent violation of the FCRA, Plaintiff is
                           2       entitled to actual damages, pursuant to 15 U.S.C. § 1681o(a)(1); and reasonable
                           3       attorney’s fees and costs pursuant to 15 U.S.C. § 1681o(a)(2), from each
                           4       Defendant.
                           5   95. As a result of each and every willful violation of the FCRA, Plaintiff is entitled
                           6       to actual damages or damages of not less than $100 and not more than $1,000
                           7       and such amount as the court may allow, pursuant to 15 U.S.C. §
                           8       1681n(a)(1)(A); punitive damages as the court may allow, pursuant to 15 U.S.C.
                           9       § 1681n(a)(2); and reasonable attorney’s fees and costs pursuant to 15 U.S.C. §
                          10       1681n(a)(3) from each Defendant.
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                          11                                        COUNT II
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                          12   VIOLATION OF THE CALIFORNIA CONSUMER CREDIT REPORTING
                          13                                   AGENCIES ACT
                          14                         CAL. CIV. CODE § 1785.1, ET SEQ.
                          15                        [AGAINST AFFIRM AND SEZZLE]
                          16   96. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                          17       as though fully stated herein.
                          18   97. The foregoing acts and omissions constitute numerous and multiple violations
                          19       of the California Consumer Credit Reporting Agencies Act.
                          20   98. In the regular course of its business operations, Affirm and Sezzle each
                          21       routinely furnishes information to credit reporting agencies pertaining to
                          22       transactions between Affirm and Sezzle respectively, and Affirm and Sezzles
                          23
                                   respective consumers, so as to provide information to a consumer’s credit
                          24
                                   worthiness, credit standing and credit capacity.
                          25
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                          28
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                           1   99. Because Affirm and Sezzle each are a partnership, corporation, association, or
                           2        other entity, and are therefore each a “person” as that term is defined by Cal.
                           3        Civ. Code § 1785.3(j), Affirm and Sezzle are and always was obligated to not
                           4        furnish information on a specific transaction or experience to any consumer
                           5        credit reporting agency if the person knows or should have known that the
                           6        information is incomplete or inaccurate, as required by Cal. Civ. Code §
                           7        1785.25(a).
                           8   100. Since Affirm and Sezzle each received all documents required to determine the
                           9        inaccuracy of Affirm and Sezzle reporting, Affirm and Sezzle each should have
                          10        known to update said reporting.
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                          11   101. Affirm and Sezzle each also should have determined that their respective
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                          12        reporting was inaccurate through review of their own account notes and records;
                          13        and, as a result of the information provided with Plaintiff’s disputes.
                          14   102. Attorney’s fees and costs pursuant to Cal. Civ. Code § 1788.30(c) from Affirm
                          15        and Sezzle
                          16                                         COUNT III
                          17            VIOLATION OF CALIFORNIA’S IDENTITY THEFT ACT
                          18                      CAL. CIV. CODE §§ 1798.92-1798.97 (CITA)
                          19    [AGAINST AFFIRM, SEZZLE, TRUEACCORD, JANUARY, AND MRS
                          20                                           BPO]
                          21   103. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                          22        as though fully stated herein.
                          23
                               104. The foregoing acts and omissions constitute numerous and multiple violations
                          24
                                    of CITA.
                          25
                               105. As a result of each and every violation of CITA, Plaintiff is entitled to any actual
                          26
                                    damages pursuant to Cal. Civ. Code § 1798.93(c)(5); a civil penalty in an
                          27
                                    amount up to $30,000.00 pursuant to Cal. Civ. Code § 1798.93(c)(6); costs
                          28
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                           1       pursuant to Cal. Civ. Code § 1798.93(c)(5), attorney’s fees and costs pursuant
                           2       to Cal. Civ. Code § 1798.93(c)(5) and any equitable relief the Court deems
                           3       appropriate pursuant to Cal. Civ. Code § 1798.93(c)(5).
                           4                                        COUNT IV
                           5     VIOLATION OF THE FAIR DEBT COLLECTION PRACTICES ACT
                           6                         15 U.S.C. §§ 1692-1692(P) (FDCPA)
                           7       [AGAINST AFFIRM, SEZZLE, JANUARY, MRS BPO AND TRUE
                           8                                        ACCORD]
                           9   106. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                          10       as though fully stated herein.
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                          11   107. The foregoing acts and omissions constitute numerous and multiple violations
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                          12       of the FDCPA.
                          13   108. As a result of each and every violation of the FDCPA, Plaintiff is entitled to
                          14       any actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages for
                          15       a knowing or willful violation in the amount up to $1,000.00 pursuant to 15
                          16       U.S.C. § 1692k(a)(2)(A); and reasonable attorney’s fees and costs pursuant to
                          17       15 U.S.C. § 1692k(a)(3) from each Defendant.
                          18                                        COUNT V
                          19        VIOLATION OF THE ROSENTHAL FAIR DEBT COLLECTION
                          20                                   PRACTICES ACT
                          21                   CAL. CIV. CODE §§ 1788-1788.32 (RFDCPA)
                          22            [AGAINST JANUARY, MRS BPO AND TRUE ACCORD]
                          23
                               109. Plaintiff incorporates by reference all of the above paragraphs of this Complaint
                          24
                                   as though fully stated herein.
                          25
                               110. The foregoing acts and omissions constitute numerous and multiple violations
                          26
                                   of the RFDCPA.
                          27
                          28
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                           1   111. As a result of each and every violation of the RFDCPA, Plaintiff is entitled to
                           2       any actual damages pursuant to Cal. Civ. Code § 1788.30(a); statutory damages
                           3       for a knowing or willful violation in the amount up to $1,000.00 pursuant to
                           4       Cal. Civ. Code § 1788.30(b); and reasonable attorney’s fees and costs pursuant
                           5       to Cal. Civ. Code § 1788.30(c) from the Defendants.
                           6                               PRAYER FOR RELIEF
                           7   WHEREFORE, Plaintiff prays that judgment be entered against each Defendant for:
                           8        • An award of actual damages, in an amount to be determined at trial or
                           9           damages of a maximum of $1,000 pursuant to 15 U.S.C. § 1681n(a)(1)(A),
                          10           against each Defendant for each incident of willful noncompliance of the
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                          11           FCRA;
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                          12
                                    • An award of punitive damages, as the Court may allow pursuant to 15
                          13
                                       U.S.C. § 1681n(a)(2), against each Defendant for each incident of willful
                          14
                                       noncompliance to the FCRA;
                          15
                                    • An award for costs and reasonable attorney’s fees, pursuant to 15 U.S.C. §
                          16
                                       1681n(a)(3), against each Defendant for each incident of negligent
                          17
                                       noncompliance of the FCRA;
                          18
                                    • An award of actual damages in an amount to be determined at trial pursuant
                          19
                                       to 15 U.S.C. § 1681o(a)(1) against each Defendant for each incident of
                          20
                                       negligent noncompliance of the FCRA;
                          21
                                    • An award of costs and litigation and reasonable attorney’s fees pursuant 15
                          22
                                       U.S.C. § 1681n(a)(3) and 15 U.S.C. § 1681o(a)(2) against each Defendant
                          23
                                       for each incident of noncompliance of the FCRA;
                          24
                                    • An award of actual damages, in an amount to be determined at trial,
                          25
                                       pursuant to Cal. Civ. Code § 1785.31(a)(2)(A), against each named
                          26
                                       Defendant individually;
                          27
                          28
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                           1     • Award of attorneys’ fees and costs pursuant to Cal. Civ. Code §
                           2        1785.31(a)(1); and, Cal. Civ. Code § 1785.31(d) against each named
                           3        Defendant individually;
                           4     • An award of actual damages pursuant to Cal. Civ. Code § 1798.93(c)(5);
                           5
                                 • A civil penalty in an amount up to $30,000.00 pursuant to Cal. Civ. Code
                           6
                                    § 1798.93(c)(6);
                           7
                                 • Attorneys’ fees and costs pursuant to Cal. Civ. Code § 1798.93(c)(5);
                           8
                                 • Any equitable relief the Court deems appropriate pursuant to Cal. Civ.
                           9
                                    Code § 1798.93(c)(5);
                          10
                                 • An injunction preliminarily and permanently enjoining each Defendant
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                          11
                                    from engaging in the unlawful debt collection practices stated herein;
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                          12
                                 • An award of punitive damages of $100-$5,000 per willful violation of Cal.
                          13
                                    Civ. Code § 1785.25(a), pursuant to Cal. Civ. Code § 1785.31(a)(2)(B);
                          14
                                 • Punitive damages according to proof as to the FCRA; and, CCCRAA
                          15
                                 • For equitable and injunctive relief pursuant to Cal. Civ. Code § 1785.31(b);
                          16
                                 • An award of actual damages, in an amount to be determined at trial,
                          17
                                    pursuant to Cal. Civ. Code § 1788.30(a),
                          18
                                 • An award of statutory damages of $1,000.00, pursuant to Cal. Civ. Code §
                          19
                                    1788.30(b),
                          20
                          21
                                 • An award of costs of litigation and reasonable attorney’s fees, pursuant to

                          22
                                    Cal. Civ. Code § 1788.30(c),

                          23     • An award of actual damages, in an amount to be determined at trial,

                          24        pursuant to 15 U.S.C. § 1692k(a)(1),

                          25     • An award of statutory damages of $1,000.00, pursuant to 15 U.S.C. §
                          26        1692k(a)(2)(A),
                          27
                          28
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                           1        • An award of costs of litigation and reasonable attorney’s fees, pursuant to
                           2           15 U.S.C. § 1692k(a)(3),
                           3        • Treble damages under Cal. Civ. Code § 3345;
                           4
                                    • Punitive damages under Cal. Civ. Code § 3294;
                           5
                                    • Any and all other relief the Court deems just and proper.
                           6
                                                               TRIAL BY JURY
                           7
                               112. Pursuant to the Seventh Amendment to the Constitution of the United States of
                           8
                                   America, Plaintiff is entitled to, and demands, a trial by jury.
                           9
                          10
                               Dated: December 2, 2024                                         Respectfully submitted,
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                          11
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                          12
                                                                                                  LOKER LAW, APC
                          13
                          14                                                        By: ___/s/ Scott M. Plescia___
                                                                                          SCOTT M PLESCIA, ESQ.
                          15
                                                                                         ATTORNEY FOR PLAINTIFF
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